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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 BMO HARRIS BANK, N.A.,                                       :
                                              Plaintiff,      :
                                                              :   20 Civ. 6355 (LGS)
                            -against-                         :
                                                              :        ORDER
 PRINCIPIS CAPITAL LLC, et al.,                               :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, Plaintiff filed pre-motion letters, proposing a motion to dismiss Count Two

of Defendants’ counterclaims and motions to strike Defendants’ jury demand and request for

attorneys’ fees (Dkt. Nos. 73, 74, 75). It is hereby

        ORDERED that by November 12, 2020, Defendants shall file a single letter, not to

exceed nine (9) pages, responding to each of Plaintiff’s pre-motion letters.

Dated: November 5, 2020
       New York, New York
